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UNITED STATES DISTRICT COURT

NEW JERSEY DISTRICT COURT

MUNEER MUSTAFTA TAWAM,

Plaintiff, Case No.
Vv.

HEALTHCARE EMPLOYEES FEDERAL COMPLAINT AND DEMAND FOR
CREDIT UNION, JURY TRIAL

Defendant.

 

 

Plaintiff MUSTAFA MUNEER TAWAM _  (“Plaintiff’), 2720 Holme Avenue,
Philadelphia, PA 19152, makes the following allegations based on his personal knowledge of his
own acts and, otherwise, upon information and belief including based on investigation of
counsel, against Defendant Healthcare Employees Federal Credit Union (“Defendant”), 29
Emmons Drive, Suite C40, Princeton, NJ 08540.

I. JURISDICTION

1. This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §
1331 and 42 U.S.C. § 12188, for Plaintiffs claims arising under the Americans with Disabilities
Act of 1990 (“ADA”), 42 U.S.C. § 12181 ef seq.

2. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(b)(1)-(3)
because Defendant resides in this District, Defendant’s principal place of business is in this
District, a substantial part of the events or omissions giving rise to Plaintiff's claim occurred in

this District, and Defendant is subject to personal jurisdiction in this District.
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II. THE PARTIES

3. Plaintiff is an adult, and is permanently blind and uses a screen reader in order to
access the internet and read website content. Despite several attempts to use and navigate the
website of Defendant Healthcare Employees Federal Credit Union (“Defendant”),
www.hefcu.com, Plaintiff has been denied the full use and enjoyment of the facilities and
services of hefcu.com as a result of accessibility barriers on hefcu.com. The access barriers on
hefcu.com have caused a denial of Plaintiff's full and equal access multiple times. Similarly, the
access barriers on hefcu.com have deterred Plaintiff from visiting Defendant’s credit union
locations.

4, Plaintiff is informed and believes, and thereon alleges, that Defendant Healthcare
Employees Federal Credit Union is a federal credit union with its principal place of business
located in Princeton, New Jersey, in this District. Plaintiff is informed and believes, and thereon
alleges, that Defendant owns and operates credit union locations in New Jersey. The credit
union locations constitute places of public accommodation. Defendant’s locations provide to the
public important goods and/or services. Defendant also provides to the public the hefcu.com
website. Hefcu.com provides access to Defendant’s array of services, including a locator for
Defendant’s facilities, information that enables a person without an account to learn what
services Defendant has to offer potential customers including descriptions of its amenities and
services that enable a user to obtain general information about particular topics and specific
information about what Defendant offers, and many other benefits related to these facilities and
services. Defendant’s facilities are public accommodations within the definition of Title III of

the Americans With Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12181(7). Hefcu.com is a
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service, privilege, advantage, and accommodation of Defendant’s facilities. Hefcu.com is a
" service, privilege, advantage, and accommodation that is heavily integrated with these locations.
5. At all times relevant to the Complaint, Defendant was acting through its agents,

servants and/or employees.

I. FACTUAL BACKGROUND
Applicability of the ADA to Commercial Websites

6. The Internet has become a significant source of information, a portal and tool for
conducting business, and a means for doing everyday activities such as shopping, banking, etc.
for both the sighted and blind, and/or visually-impaired persons.

ds Blind individuals may access websites by using keyboards in conjunction with
screen-reading software that vocalizes visual information on a computer screen. Screen access
software provides the only method by which a blind person may independently access the
internet. Unless websites are designed to be read by screen reading software, blind persons are
unable to fully access websites and the information, products and services contained thereon.

8. The international website standards organization, W3C, has published version 2.0
of the Web Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established
guidelines for making websites accessible to blind and visually-impaired people. These
guidelines are successfully followed by numerous large business entities to ensure their websites
are accessible. These guidelines recommend several basic components for making websites
accessible including, but not limited to: adding invisible alternative text to graphics; ensuring
that all functions can be performed using a keyboard and not just a mouse; ensuring that image

maps are accessible; and adding headings so that blind people can easily navigate websites.

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Without these very basic components, a website will be inaccessible to a blind or visually-
_ impaired person using a screen reader.

9. Within this context, numerous federal courts have recognized the viability of
ADA claims against commercial website owners/operators with regard to the accessibility of
such websites. See, e.g., Andrews v. Blick Art Materials, LLC, -- F. Supp. 3d --, 2017 WL
3278898, at *12, *15-*18 (E.D.N.Y. Aug. 1, 2017) (Weinstein, J.); Thurston v. Chino
Commercial Bank, N.A., No. CV 17-01078 BRO (JCx), 2017 WL 3224681, at *5 (C.D. Cal. July
27, 2017) (citing Gorecki); Markett v. Five Guys Enterprises LLC, No. 1:17-cv-00788-KBF, slip
op. at 4-6 [ECF #33] (S.D.N.Y. July 21, 2017); Gorecki v. Hobby Lobby Stores, Inc., No. 2:17-
cv-01131-JFW-SK, 2017 WL 2957736 (C.D. Cal. June 15, 2017) (Walter, J.) (denying a motion
to dismiss sought against ADA and California’s Unruh Civil Rights Act claims) (“[T]his is a
relatively straightforward claim that Hobby Lobby failed to provide disabled individuals full and
equal enjoyment of goods and services . . . by not maintaining a fully accessible website. There
is nothing unique about this case, as federal courts have resolved effective communication claims
under the ADA in a wide variety of contexts-- including cases involving allegations of unequal
access to goods, benefits and services provided through websites.”); Gil v. Winn-Dixie Stores,
Inc., No. 16-23020-Civ-Scola, -- F. Supp. 3d --, 2017 WL 2547242, at *7 (S.D. Fla. June 13,
2017) (finding that the defendant, a large supermarket chain, had violated the plaintiff's rights
under the ADA by failing to maintain an accessible website after a non-jury trial); Frazier v.
Amerisery Financial Bank, Nos. 2:16-cv-01898-AJS (Lead Case), 17cv0031 [ECF #107], slip op.
at 20 (W.D. Pa. Apr. 21, 2017) (denying a motion to dismiss an ADA claim alleging an
inaccessible commercial website); Frazier v. Churchill Downs Inc., Nos. 2:16-cv-01898-AJS

(Lead Case), 2:16-cv-0007 (Member Case) [ECF #107] slip op. at 20 (W.D. Pa. Apr. 21, 2017)
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(same); OmahaSteaks.com, Inc. v. Access Now, Inc., et al., No. 8:17-cv-00060-LSC-CRZ [ECF
#9-1] (D. Neb. Apr. 17, 2017) (consent decree); Access Now, Inc., et al. v. Omahasteaks.com,
Inc., Nos. 2:16-cv-01898-AJS (Lead Case), 2:17-cv-00269-AJS (Member Case) [ECF #99]
(W.D. Pa. Apr. 11, 2017 (same); Gil v. Winn-Dixie Stores, Inc., -- F. Supp. 3d --, No. 16-23020-
Civ-Scola, 2017 WL 2609330 (S.D. Fla. Mar. 15, 2017) (denying a motion for judgment on the
pleadings sought against an ADA claim alleging an inaccessible commercial website); Nat’
Ass'n of the Deaf v. Harvard Univ., Case 3:15-cv-30023-MGM, 2016 WL 3561622, at *12-*20
(D. Mass. Feb. 9, 2016) (Robertson, Mag. J.) (recommending the denial of a motion to dismiss or
stay predicated on the primary jurisdiction doctrine), adopted in Nat'l Ass’n of the Deaf v.
Harvard Univ., Case 3:15-cv-30023-MGM, 2016 WL 6540446, at *1-*3 (D. Mass. Nov. 3,
2016) (Mastroianni, J.); Nat’ Ass’n of the Deaf v. Massachusetts Inst. of Tech., Case 3:15- ev-
30024-MGM, 2016 WL 3561631, at *1 (D. Mass. Feb. 9, 2016) (Robertson, Mag.
J.)(recommending the denial of a motion to dismiss or stay predicated on the primary jurisdiction
doctrine), adopted in Nat’l Ass'n of the Deaf v. Massachusetts Inst. of Tech., Case 3:15-cv-
30024-MGM, 2016 WL 6652471, at *1 (D. Mass. Nov. 4, 2016) (Mastroianni, J.); Edward Davis
v. Orlando Wilshire Investments Ltd., et al., No. 5:15-cv-01738-MWF-KK, slip op. at 10 [ECF
#17] (C.D. Cal. Nov. 2, 2015) (Fitzgerald, J.) (denying motion to dismiss in a website
accessibility case) (“the Court concludes that the Complaint sufficiently alleges that the
inaccessibility of the Website impedes the full and equal enjoyment of the Hotel.”); Nat’] Fed’n
of the Blind y. Scribd, Inc., 98 F. Supp.3d 565, 576 (D. Vt. 2015) (denying a motion to dismiss an
ADA claim against a commercial website operator); James Patrick Brown v. BPS Direct, LLC, et
al., Case No. LACV 14-04622 JAK (JEMx) slip op. at 4-7 [ECF #30] (C.D. Cal. Oct. 6, 2014)

(Krondstadt, J.) (denying the defendant’s motion to dismiss while relying on the Target decision
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as “persuasive”, and holding “the Complaint does allege that Bass Pro Shops is a chain of brick-
stale stores and that BassPro.com is a website providing information about Bass Pro Shops _- :
products, offers, and locations.... [and that] a nexus could be established here through
discovery.”); Penney v. Kohl’s Dep’t Stores, Inc., et al., No. 8:14-cv-01100-CJC-DFM [ECF
#12] slip op. at 3 (C.D. Cal. Sept. 23, 2014) (Carney, J.) (denying a motion to dismiss and
stating, “Thus, the Complaint states plausible facts that establish the requisite nexus between the
challenged service and the place of public accommodation.”); National Ass’n of the Deaf v.
Netflix, Inc., 869 F. Supp. 2d 196, 200 (D. Mass. 2012) (excluding web-based services would
“run afoul of the purposes of the ADA and would severely frustrate Congress’s intent that
individuals with disabilities fully enjoy the goods, services, privileges, and advantages available
indiscriminately to other members of the general public”); id. at 200-01 (“[T]he legislative history
of the ADA makes clear that Congress intended the ADA to adapt to changes in technology.”)
(quoting H.R. Rep. 101-485(11), at 108 (1990)) (“[T]he Committee intends that the types of
accommodation and services provided to individuals with disabilities, under all of the titles of this
bill, should keep pace with the rapidly changing technology of the times.”); Shields v. Walt Disney
Parks and Resorts US, Inc., 279 F.R.D. 529, 559 (C.D. Cal. 2011) (rejecting as “unpersuasive”
Disney’s argument that “there is no accepted accessibility standard” and the argument that the
DOJ has yet to determine what standards to apply to websites and stating, “The lack of a widely
accepted standard for website accessibility does not preclude injunctive relief that would improve
access to Defendants’ websites by the visually impaired.”); Nat'l Federation of the Blind vy.
Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006) (“To limit the ADA to discrimination in
the provision of services occurring on the premises of a public accommodation would contradict

the plain language of the statute.”); id. at 953-54 (“consistent with the plain language of the
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statute, no court has held that under the nexus theory a plaintiff has a cognizable claim only if the
challenged service prevents physical access to a public accommodation. Further, it is clear that
the purpose of the statute is broader than mere physical access—seeking to bar actions or
omissions which impair a disabled person’s “full enjoyment” of services or goods of a covered
accommodation. 42 U.S.C. § 12182(a). Indeed, the statute expressly states that the denial of
equal “participation” or the provision of “separate benefit[s]” are actionable under Title III. See
42 U.S.C. § 12182(b)(1)(A).”); cf Hindel v. Husted, No. 2017 WL 432839, at *7 (S.D. Ohio Feb.
1, 2017) (granting a motion for preliminary injunction against the Ohio Secretary of State based
on the accessibility of the state’s website under Title II of the ADA and requiring conformance
with WCAG 2.0 Level A and AA Success Criteria).
The Inaccessibility of Defendant’s Website to the Visually-Impaired

10. Defendant offers the commercial website, hefcu.com, which provides, among
other things, information concerning the credit union locations it operates, information and
descriptions of its amenities and services, privileges, advantages, and accommodations, and
allows users to find the locations for them to visit.

11. Based on information and belief, it is Defendant’s policy and practice to deny
blind users, including Plaintiff, equal enjoyment of and access to hefcu.com. Due to Defendant’s
failure and refusal to remove access barriers on hefcu.com, Plaintiff and other blind and visually
impaired individuals have been denied equal enjoyment of and access to Defendant’s locations
and to the other services, advantages, privileges, and accommodations offered to the public
through hefcu.com.

12. Defendant denies blind individuals equal enjoyment of and access to the services,

privileges, advantages, and accommodations and information made available through hefcu.com
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by preventing them from freely navigating hefcu.com. Hefcu.com contains access barriers that
prevented free and full use by blind persons using screen reading software.

13. Hefcu.com’s barriers are pervasive and include, but are not limited to, the
following: (1) Missing alternative text which presents a problem because an image without
alternative text results in an empty link. Alternative Text is invisible code embedded beneath a
graphical image on a website. Web accessibility requires that Alternative Text be coded with
each picture so that a screen reader can speak the Alternative Text where a sighted user sees
pictures. Alternative Text does not change the visual presentation, but instead a text box will
pop-up when the mouse moves over the picture. The lack of Alternative Text on these graphics
prevents screen readers from accurately vocalizing a description of the graphics. As a result,
visually-impaired Healthcare Employees Federal Credit Union customers are unable to
determine what is on the website, browse the site, look for Defendant’s locations, check out
Defendant’s amenities, and/or determine which location to visit; (2) Empty or missing form
labels which presented a problem because if a form control does not have a properly associated
text label, the function or purpose of that form control may not be presented to screen reader
users. Form labels provide visible descriptions and larger clickable targets for form controls; and
(3) Empty links that contain no text causing the function or purpose of the link to not be
presented to the user. This can introduce confusion for keyboard and screen reader users.

14. Due to the inaccessibility of hefcu.com, blind and otherwise visually impaired
customers who use screen readers are hindered from effectively browsing for Defendant’s
locations, amenities and services, privileges, advantages, and accommodations that exist online
unlike sighted users. If hefcu.com were accessible, Plaintiff could independently and privately

investigate Defendant’s services, privileges, advantages, and accommodations and amenities,
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and find the location to visit via Defendant’s website as sighted individuals can and do.

15. “= Despite several attempts to use hefcu.com in reoerit months, the numerous access
barriers contained on Defendant’s website have denied Plaintiffs full and equal access, and
deterred Plaintiff on a regular basis from accessing Defendant’s website. Similarly, based on the
numerous access barriers contained on hefcu.com, Plaintiff has been deterred from visiting
Defendant’s physical locations that Plaintiff may have located by using hefcu.com.

IV. CLAIM FOR RELIEF
Based on the foregoing allegations, Plaintiff's claim for relief includes the following:
COUNT I
Violations of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

16. Plaintiff hereby incorporates by reference each of the preceding and subsequent
paragraphs of this complaint as though fully set forth herein.

17. Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 ef seg., provides: “No
individual shall be discriminated against on the basis of disability in the full and equal enjoyment
of the goods, services, facilities, privileges, advantages, or accommodations of any place of
public accommodation by any person who owns, leases (or leases to), or operates a place of
public accommodation.” 42 U.S.C. § 12182(a).

18. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also
includes, among other things: “a failure to make reasonable modifications in policies, practices,
or procedures, when such modifications are necessary to afford such goods, services, facilities,
privileges, advantages, or accommodations to individuals with disabilities, unless the entity can
demonstrate that making such modifications would fundamentally alter the nature of such goods,

services, facilities, privileges, advantages or accommodations”; and “a failure to take such steps
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as may be necessary to ensure that no individual with a disability is excluded, denied services,
segregated or otherwise treated differently than other individuals because of the absence of
auxiliary aids and services, unless the entity can demonstrate that taking such steps would
fundamentally alter the nature of the good, service, facility, privilege, advantage, or
accommodation being offered or would result in an undue burden”. 42 U.S.C. §
12182(b)(2)(A)(ai)-(ili). “A public accommodation shall take those steps that may be necessary
to ensure that no individual with a disability is excluded, denied services, segregated or
otherwise treated differently than other individuals because of the absence of auxiliary aids and
services, unless the public accommodation can demonstrate that taking those steps would
fundamentally alter the nature of the goods, services, facilities, privileges, advantages, or
accommodations being offered or would result in an undue burden, i.e., significant difficulty or
expense.” 28 C.F.R. § 36.303(a). In order to be effective, auxiliary aids and services must be
provided in accessible formats, in a timely manner, and in such a way as to protect the privacy
and independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).

19. Defendant’s locations are “public accommodations” within the meaning of 42
U.S.C. § 12181 ef seq. Defendant generates millions of dollars in revenue from the sale of its
amenities and services, privileges, advantages, and accommodations in New Jersey through its
locations and related services, privileges, advantages, and accommodations and hefcu.com.
Hefcu.com is a service, privilege, advantage, and accommodation provided by Defendant that is
inaccessible to patrons who are visually-impaired like Plaintiff. This inaccessibility denies
visually-impaired patrons full and equal enjoyment of and access to the facilities and services,
privileges, advantages, and accommodations that Defendant made available to the non-disabled

public. Defendant is violating the Americans with Disabilities Act, 42 U.S.C. § 12181 ef seg., in

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that Defendant denies visually-impaired customers the services, privileges, advantages, and
accommodations provided by hefcu.com. These violations are ongoing.

20. | Defendant’s actions constitute intentional discrimination against Plaintiff on the
basis of a disability in violation of the Americans with Disabilities Act, 42 U.S.C. § 12181 ef seg.
in that: Defendant has constructed a website that is inaccessible to Plaintiff; maintains the
website in this inaccessible form; and has failed to take adequate actions to correct these barriers
even after being notified of the discrimination that such barriers cause.

21s Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth
and incorporated therein, Plaintiff requests relief as set forth below.

DEMAND/PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment and relief as follows:

A. For preliminary and permanent injunctive relief pursuant to 42 U.S.C. §
12188(a)(1) and (2), requiring Defendant to take the steps necessary to make hefcu.com readily
accessible to and usable by visually-impaired individuals;

B. Plaintiff's reasonable attorneys’ fees and court costs; and

or Such other and further relief as the Court may deem necessary and appropriate.
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JURY DEMAND

Plaintiff, pursuant to Fed. R Civ. P. 38(b), hereby demands trial by jury.

Dated: December 28, 2017

Respectfully submitted,
CLARK LAW FIRM, PC

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MARK W. MORRIS, ESQ.

 

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